
662 S.E.2d 390 (2008)
STATE of North Carolina
v.
Damon Enrico THOMAS.
No. 22P08.
Supreme Court of North Carolina.
April 10, 2008.
Daniel F. Read, Durham, for Thomas.
James M. Stanley, Jr., Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 21st day of January 2008 by Defendant in this matter for "discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
